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                   Exhibit A
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                                          CURRICULUM VITAE

                                          (last updated: 15 v 2024)

      NAME: HUDSON, John Geoffrey Henry

      AGE: 62     DATE OF BIRTH: 7 May 1962

      NATIONALITY: British

      ADDRESS: Department of Mediaeval History, 71 South St.,
            St. Andrews, Fife, KY16 9QW. (01334) (46)2888
            jghh@st-andrews.ac.uk

      CAREER:
           Undergraduate: Worcester College, Oxford. 1980-83

             Graduate: University of Toronto, 1983-4: M.A. in Mediaeval Studies.

                    Worcester College, Oxford, 1984-8.
                          D.Phil. 1988: Thesis: 'Legal Aspects of Seignorial Control
                          of Land in the Century after the Norman Conquest.'

      APPOINTMENTS:
           Research Fellow, Institute of Historical Research, University of London, 1987-8

             Junior Research Fellow, Worcester College, Oxford, 1987-8

             Lecturer in Mediaeval History, University of St. Andrews, 1988-1997

             Reader in Mediaeval History, University of St Andrews, 1997-2003

             Professor of Legal History, University of St Andrews, 2003-2017

             William W. Cook Global Law Professor, University of Michigan Law School, 2012-20

             Bishop Wardlaw Professor of Legal History, University of St Andrews, 2017-

             L. Bates Lea Global Professor of Law, University of Michigan Law School, 2020-


             Fellow of the Royal Historical Society

             Fellow of the Royal Society of Edinburgh (elected 2014)

             Fellow of the British Academy (elected 2016)
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             Member of the Academia Europaea (elected 2019)


             Lansdowne Memorial Lecturer in Medieval Studies, University of Victoria, British
             Columbia (Feb. 1997)

             Visiting Professor, University of Michigan Law School, Ann Arbor (2010-11)

             Carlyle Lecturer, Oxford (Hilary term, 2023)

             Guest Professor, Law Faculty, University of Vienna (Dec. 2023)


      EXTERNAL FUNDING - INDIVIDUAL
           Semester's leave under British Academy Research Leave Scheme, Martinmas semester,
           1997.

             British Academy Neil Ker Memorial Fund: £555 grant, 1997
                                    £800 grant, 2000

             Rubric Translation award: £800 grant, 1999

             British Academy Research Readership 2004-6

             AHRC Research Leave Scheme, 2009

      EXTERNAL FUNDING - PROJECT
           ERC Advanced Grant 2017: 2.1 million Euros for project on ‘Civil Law, Common Law,
           Customary Law’

      EXTERNAL FUNDING - COLLABORATIVE PROJECTS
           Project leader, British Council / Ministerio de Educación y Cultura
           'Acciones Integradas' programme, 1999-2001: 'Political discourses: a
           comparative study of ideologies of legitimation.'
                   - collaboration with historians at CSIC, Madrid
                   - £7800 grant for staff exchanges.

             Project leader, European Science Foundation 'Exploratory Workshop' programme, 2002:
             'Power and authority: comparative analyses of history, law and legitimation'
                     - collaborations with historians at Paris, Budapest, Madrid, Dublin,
                     Glasgow, Warsaw, Vilnius.
                     - 12,000 Euro grant for workshop in Madrid, Sept. 2002
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            Joint co-ordinator, Acciones Complementarias, Ministerio de Educación y Ciencia (Spain)
            2009-11: Processos de institucionalización: un estudio comparado entre Oriente y Occidente
            en la Edad Media
                    - collaboration with historians at CSIC Madrid, London, Glasgow, Lisbon, Rome,
                       Birmingham, Paris.
                    - 40,000 Euro grant.

            Research Lead, Marie Curie ITN, 2012-2016: ‘Power and Institutions in Medieval Islam and
            Christendom’
                   - 3.3 million Euro grant

            AHRC Cultural Engagement, 2016: ‘Talking Law’
                 - £25,000 grant

            Scottish Funding Council, 2021: ‘Mapping Medieval Legal Culture’
                    - £25,134 grant

            Marie Curie Global Fellowship for Dr Andrew Cecchinato, 2021-4
                   - £200,000 grant


      TEACHING
           Oxford, 1988: Christ Church, Worcester, and Jesus Colleges

            University of St Andrews, 1988-.
                   Lectures: British History 5th-15th centuries. European History 6th-13th centuries.

                   Honours Options:
                                'Courtroom Dramas: Law, Literature, and Lordship'

                   Supervisor of Honours dissertations in Mediaeval

                   M. Litt. in Mediaeval History core course: 'Sources and Source criticism'

                   M. Litt. in Legal and Constitutional Studies: ‘Approaches to Legal History’;
                   ‘Comparative Studies in Legal History’; ‘The Idea of Law’ (core course);
                   'Comparative Studies in Legal and Constitutional Research' (core course)

                   M.Litt. in Mediaeval Studies

            University of Michigan Law School (March/April 2010-2012, 2014, 2016- )

            University of Vienna, Law Faculty (Dec. 2023)

            Fellow of the Institute of Learning and Teaching, now Higher Education Academy
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             Nominee for University of St Andrews Students’s Association Teaching Award: 2011 (ug),
             2016 (pg), 2024 (Mentorship)

             Winner University of St Andrews Students’s Association Teaching Award: 2017
             (dissertation/project supervisor)

      Post-graduate students supervised:
             (i) dissertations for 1-year courses (since 2014):
                      Ethan Birney: Hugh the Chanter and the Primacy (MLitt, 2014)
                      Meghan Woolley: Anger in the Becket dispute (MLitt, 2014)
                      Rebecca Searby: The Jews in the Plea Rolls to 1250 (MLitt, 2015)
                      Maria Merino Jaso: Verse in Henry of Huntingdon (MLitt, 2015)
                      Ian Moret: Maintenance and receiving in England in the Thirteenth Century (MLitt,
                      2015)
                      Jessie Bonafede: Authority and violence in the earliest Kentish laws (MLitt, 2015)
                      Josephine Amos: Mutilation in twelfth-century England (MLitt, 2017)
                      Maya Metzger: Fairies in the Middle Ages (MLitt, 2017)
                      John Chan: University regulations, legal pluralism, and the rule of law (MLitt, 2017)
                      Richard Nicholl: “From bias free of every kind”: utilitarianism and the
                      English trial jury, 1808-1914 (MLitt, 2018)
                      Abigail Hartman: In death a victor: Songs on the rebel Simon de Montfort in the
                      thirteenth and fourteenth centuries (MLitt, 2018)
                      Meagan Clark: An analysis of herbal medicine in Hildegard von Bingen's Plants
                      (MLitt, 2018)
                      Callum Jamieson: Papal judges-delegate and the diocese of Lincoln, c.1159 - c.1199
                      (MLitt, 2018)
                      Corranne Wheeler: A mirror of princes: a comparative study of kingship between
                      Henry II of England and Fulk of Jerusalem (MLitt, 2018)
                      Harriet O’Connor-James: An Examination of medieval graffiti, with particular
                      reference to the identity, motivation, choice of venue and images used by the artists
                      (MLitt, 2018)
                      Joshua Phillips: Voluntatem vero propriam ita facere prohibemur: St
                      Anselm's concepts of obedience and authority within the Bec Letters,
                      1063-1093 (MLitt, 2019)
                      Julia Rohn: The progression of West-Saxon vs. Kentish diplomatics in Anglo-Saxon
                      charters (MLitt, 2019)
                      Alasdair Wilde: Free Samples?: An investigation of U.S. Copyright
                      Legislation through an analysis of music sampling. (MLitt, 2019)
                      Paolo Celeridad: Marbury v. Madison and R (Miller) v. The Prime
                      Minister: An Attempt at Comparative Constitutional Rhetoric (MLitt,
                      2020)
                      John Priddy: The Canary in the Coal Mine: The Right to Counsel and Public Defense
                      in American Law (MLitt, 2020)
                      Scarlett Swain: To What Extent did the Principle of Judicial Independence Play a
                      Part in the Transition From the House of Lords to the Creation of the UK Supreme
                      Court? (MLitt, 2020)
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                   David Ponwitz: Violence, Honour and Law in the “Feud” of Sichar and the Saga of
                   Þorgils and Hafliði (MLitt, 2020)
                   Cheng Zhu: “The Last Constitutional Fight”: What can the Prohibition on
                   Face Covering Regulation Tell Us About Legal Resistance of the High
                   Court of Hong Kong During the 2019-2020 Protest? (MLitt, 2020)
                   Jonathan Carey: How do Marxist Theories of Law advance Understanding
                   of the Rule of Law, considering Current Government Policy (MLitt, 2021)
                   Alix de Broons: Defining Kingship in Times of Trial, Scotland c. 1286-
                   1329 (MLitt, 2021)
                   Kathrin Nickel: Gendered Space, Property, and Women’s Clubs: The
                   Contrasting Managerial and Financial Structures Facilitating Property
                   Transactions for the Purposes of Housing Female Establishments in
                   London, c. 1883-1934 (MLitt, 2021)
                   Anna Brainin: Anatomy of a Leading Case: The Great Gleaning Case of
                   1788, its Judicial Reasoning, and its Jurisprudential Meaning (MLitt,
                   2022)
                   Poppy Kershaw: “An atmosphere of trust” – Conscience, Chancery, and
                   the Moral Personality of English Jurisprudence in F.W. Maitland (MLitt,
                   2022)
                   Julia Horn: The use of ius commune sources in Bracton, Britton, and Fleta
                   (MLitt, 2023)
                   Lauren Parker: Queenly Anger in the twelfth and thirteenth centuries
                   (MRes, 2023-4)
                   Eliza Hobbs: Orphans and fostering in late medieval Italy (MLitt, 2024)
                   Flora MacKechnie: Property and Social Control in the Early Common
                   Law (MLitt, 2024)
                   Cooper Smith: Peremptory Challenges to Jurors (MLitt, 2024)

            (iii) doctorates
                     Nicola J. Castles: The Transmission of Classical and Patristic Texts in late Anglo-
                     Saxon and early Norman England, (Ph.D., 1994) [jointly with D.A. Bullough and A.
                     Gratwick]

                   Julie Kerr: Perceptions and Practices of Benedictine Hospitality in England (Ph.D.,
                   2000)

                   April Harper, Representations of adultery in Old French Literature (Ph. D., 2003)

                   Amanda Martinson, Ecclesiastical Patronage of Henry II (Ph.D., 2007)

                   Elizabeth Thomas, Royal marriages in twelfth and thirteenth century England (Ph.D.,
                   2009)

                   Linsey Hunter, Lordship and land-holding between the Humber and the Forth
                   (Ph.D., 2011)
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                  Kate Hammond, Politics and family relations in eleventh and twelfth twelfth-century
                  Normandy (Ph.D., 2013)

                  Matthew McHaffie, Lordship, law, and violence in Anjou, c. 950-1150 (Ph.D., 2013)

                  Eilidh Harris, Representations of Sanctity in twelfth-century English Hagiography
                  (PhD 2014)

                  Michael French, Churchmen and reform in England c. 1100 (PhD 2015)

                  Jane Edwards, The writing of short histories in twelfth-century England (PhD 2015)

                  Will Eves, The Assize Mort d’Ancestor (PhD 2016)

                  Maxine Esser, John of Salisbury and law (PhD, 2017)

                  Lydia Hayes, Images of women in Romance (PhD, 2017)

                  Joshua Hey, Political oaths in England, c. 871-1272 (PhD, 2017)

                  Sarah White, Litigation and legal argument in English ecclesiastical courts in the
                  thirteenth century (PhD, 2017)

                  Cory Hitt, Codes of honour and law in mediaeval French and Icelandic literature
                  (PhD, 2018)

                  Ethan Birney, East Anglian monasteries in Stephen’s reign (PhD, 2019)

                  Ingrid Ivarsen, Grammar and Structure of Anglo-Saxon laws (PhD, 2020) [jointly
                  with Prof. C. Humfress]

                  David De Concilio, Via Brocardica: The Development of Brocards and the Western
                  European Legal Tradition (c. 1160-c. 1215) (PhD, 2022; co-tutelle with Roma Tre)

                  Dan Armstrong, Anglo-Papal Relations, c. 1066-c. 1135 (PhD, 2022)

                  Dominika Brzezinska, Aspects of illegitimacy in the Middle Ages (PhD, 2022)

                  Calum Jamieson, England and the Papacy 1170-1220 (PhD, 2023) [jointly with Dr S
                  Marritt, Univ. of Glasgow]

                  Kim-Thao Le, Crime and Reputation in Thirteenth-Century England, (in progress;
                  co-tutelle with Paris Nanterre)

                  Cinnamon Ducasse, Ecclesiastical Property in Roman Law and Ius Commune (in
                  progress) [jointly with Prof. C. Humfress]
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                   Lili Scott Lintott, Royal Grief in England 1066-1307 (in progress) [jointly with Prof.
                   M. Strickland, Univ. of Glasgow]

                   Poppy Kershaw, F.W. Maitland and late Victorian learning (in progress)

                   Alex Lombardo, Carolingian and Anglo-Saxon Legislation (in progress)

            (iv) others (since 2014):
                    Ole-Albert Rønning (Univ. of Oslo, M.A., 2016 – external supervisor): Aristocratic
                    political refugees in 12th-century Scandinavia.

                   David Moen (Univ. of Oslo, M.A., 2017 – external supervisor): Chroniclers and the
                   1173 rebellion against Henry II

                   Yaoling Dai (PhD student, Capital Normal University, Beijing, China,
                   2018-19 – visiting student): Sheriffs and the development of the Common
                   Law.

                   Rebeka Laucikova (PhD student, Charles University, Prague – visiting
                   student): Outlawry in English law c. 870-1220.

                   Meghan Woolley (PhD student, Duke University, 2019-21): The Role of
                   Emotions in Shaping English Law, c. 1114-1272.

      ADMINISTRATION:
          (a) St Andrews (Selected - since 2010)
          Mediaeval History M. Litt. co-ordinator (2007-9, 2014-17)
          Legal and Constitutional Studies MLitt. co-ordinator (2019-2023)
          Convenor, ME1003 (2023- )

            Director of Teaching, School of History (1998-2001)
            Director of Research (2010-11)
            Head of School of History (2001-4, 2011-14)

            Co-director, Centre for Mediaeval and Early Modern Law and Literature (2011-16)
            Founder and Director, Institute for Legal and Constitutional Research (2015-19, 2022-)
            Deputy Director, Institute for Legal and Constitutional Research (2020-22)

            Organiser Mediaeval Studies Research Seminar; Dark Age Studies committee;
            Interdisciplinary Research Seminar committee.

            600th Anniversary Committee (2010-11)
            Promotions Panel (2011-16)
            Professorial salary review panel (2012)
            Senate Supervisory Board for Rectorial Election (2014)
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             Research Excellence Board (2018-19)

             (b) National
             Academic assessor for History, SHEFC Assessment of the Quality of Teaching and
             Learning 1995-6 programme
             Academic Reviewer, QAA trials, 1999

             (c) Learned Societies
             European vice-President, Haskins Society (1997-2002)

             Selden Society Council (1998- )
             Selden Society Doctoral Scholarship committee (2013- )
             Selden Society Yale Prize committee (2020- )

             Royal Society of Edinburgh, Sectional Committee (2014-16)
             Royal Society of Edinburgh, Young Academy application reviewer (2014- )
             Royal Society of Edinburgh, Nominations Group (2020- )

             British Academy Stenton fund committee (2018- ), vice-Chair (2021- )
             British Academy Medieval Studies Section Committee (2024- )

      MEDIA (selected)
           1999-2000: Historical Consultant for BBC ‘A History of Britain’: programme on Henry II
           2001: BBC Radio interview: Magna Carta and the UK Independence Party
           2002: Consultant, ITV, 'Adventures of English'.
           2003: BBC Radio 4 ‘Making History’ interview: ‘The after-life of King Harold II’
                  BBC Radio 4 ‘Making History’ interview: ‘The hundred rolls and
                  the Black Book of the Exchequer’
           2004: BBC Radio 4 ‘The Norman Way’
           2004: Consultant and interviewee, Discovery Channel ‘Violent Nation’
           2005: BBC Radio 4 ‘Making History’ interview: ‘King Harold and Bosham’
           2007: Channel 4 ‘History of English Law’: consultant and interviewee
           2008: BBC ‘Coast’: consultant
           2010: BBC History animation for children: consultant
           2011: BBC4 History of law series ‘The Strange Case of the Law’: consultant and
           interviewee (broadcast 20 June 2012)
           2012: BBC Learning series on crime and punishment: consultant
           2014: Contratiempo (Spain): joint lead contributor on feature on PIMIC project
           2015: Delo (Slovenia): Interview ‘Magna Carta med spominom, mitom in zapisano besedo’.
           2016: Contratiempo (Spain): lead contributor on feature on Magna Carta
           2021: Massolit: ‘Crime in Anglo-Norman England’
           2021- : 'Talking Constitutions' podcasts
           2023: Scottish Futures podcast: 'Jury trial in Scotland'

      SELECTED NON-UNIVERSITY PRESENTATIONS
           Lectures and talks given at various secondary schools; also to University Open Association.
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            Lectures at teachers' conferences, St Andrews, 1992, 1993
            Course on Norman Britain, Historical Association Summer School, St Andrews, 1993
            Lecture on ‘Symbols of Power and Lordship’, University of St Andrews Museum Maces
            Exhibition, Nov. 2013
            Lecture on ‘French law and Common law’, Franco-Scottish Society, St Andrews, 2024

      INTERNAL POST-GRADUATE EXAMINING
           Elisabeth Austin, Ph. D. (May 1996)
           Mark Hagger, Ph. D. (Oct. 1998)
           Bjorn Weiler, Ph. D. (Dec. 1998)
           Richard Yarlett, Ph. D. (Jan. 2004)
           Brian Briggs, Ph. D. (June 2004)
           Sally Crumplin, Ph. D. (April 2005)
           Nancy Mitton, Ph. D. (April 2007)
           Lynsey Robertson, Ph. D. (August 2007)
           Will Kay, Ph. D. (June 2012)
           Ed Roberts, Ph. D. (December 2013)
           Vittorio Mattiolo, Ph. D. (November 2017)
           Peter King, Ph. D. (July 2018)
           Suzette van Haaren, Ph. D. (Jan. 2022)
           Cameron Houston, Ph. D. (August 2022)
           Hailey O’Harrow, PhD. (May 2023)

      EXTERNAL EXAMINING
           Undergraduate: University College, Scarborough (1993-7)

            Post-graduate:
                   Oxford, Medieval History M.St., (2009-11)

                   J.A. Meddings, Loyalty and War in Twelfth-Century England, (Leeds, M.A., 1994)

                   J. Bickford Smith, Orderic Vitalis and Norman Society, c. 1035-87 (Oxford, DPhil.,
                   2006)
                   Thomas Roche, (Paris, PhD, 2006)
                   Sarah Tullis, Glanvill after Glanvill, (Oxford DPhil., 2007)
                   Thomas Lambert, Protection, Feud and Royal Power: Violence and its Regulation in
                   English Law c. 850 c. 1250 (Durham, PhD, 2009)
                   Sarah Raich, The Sea in the Anglo-Norman Realm, c. 1050 to c. 1180 (Cambridge,
                   PhD, 2014)
                   James Lawson, The Influence of Civilian and Canonist Learning on the English
                   Royal Law, 1152-1189 (Cambridge, PhD, 2015)
                   Jonathan Paletta, Identities and Interactions in English Towns 1066-c. 1166
                   (Cambridge, PhD, 2015)
                   Janice Musson, Commoners and the Assize of Novel Disseisin 1194-1221
                   (Nottingham, PhD, 2016)
                   Miriam Tveit, In Search of Legal Transmission (Tromso, PhD, 2017)
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                    Kenneth Duggan, Communal Justice in Thirteenth-century England (King’s College
                    London, PhD, 2017).
                    Robert Cohen, Taxation in England, c. 991-1135 (Oxford, DPhil, 2017)
                    Hannah Boston, Lordship and locality: multiple lordship in the north Midlands
                    during the long twelfth century (c.1066-c.1216) (Oxford, DPhil, 2018)
                    Richard Purkiss, Royal administration in East Anglia, c. 917-1066 (Oxford, DPhil,
                    2019)
                    Suzette van Haaren, The Digital Manuscript: approaches to digital codicology,
                    (Groningen, PhD, 2022)
                    Meghan Woolley, The Heart of the Court: The Role of Emotions in
                    Shaping English Law, c. 1114-1272, (Duke, PhD, 2022)

      EXTERNAL ASSESSOR FOR GRANTS

      AHRB Resource Enhancement grants

      AHRC grants

      British Academy Small Grants
      British Academy Mid-Career Fellowships
      British Academy Global Professorships
      British Academy Talent Development Awards

      European Science Foundation Exploratory Workshops
      European Science Foundation Pool of Peer Reviewers (2006-16)
      European Science Foundation College of Expert Reviewers (2016-)

      Foundation of Polish Science

      Irish Research Council for the Humanities and Social Sciences – Government of Ireland Post-
      Doctoral Fellowship Scheme

      Institute of Advanced Studies, Princeton (2010- )

      Italian Ministry of Education, Universities and Research (MIUR) (2011-)

      Leverhulme Major Research grants

      St John’s College, Cambridge, Research Fellowships

      ADVISORY BOARDS FOR FUNDED PROJECTS

      2008-9 AHRC funded Anglo-Norman Research Group (based at University of Edinburgh)
      2008-11 AHRC funded Early English Laws Project (based at IHR, London)
      2009-12 Leverhulme-funded Anglo-Saxon Assemblies sites project (based at University College
      London.
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      2019-22 British Academy Legal Jurisdictions project (based at University of Sheffield and King’s
      College London)

      EXTERNAL ASSESSOR FOR CHAIR APPOINTMENTS

      Universities of Birmingham and Exeter

      EXTERNAL ASSESSOR FOR PROMOTIONS

      Department of History, University of Keele
      Department of History, University of California Riverside
      Department of History, Cardiff University
      William and Mary Law School
      Trinity College, Dublin
      Modern History Faculty, University of Oxford
      Department of History, University of Pennsylvania
      Department of Law, University of Melbourne
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      PUBLICATIONS:

      (A) Books:
            (a) sole author / scholarly editions and translations:

             (i) Land, Law, and Lordship in Anglo-Norman England, (Oxford, 1994). [320 pp.]
                     (Paperback edn., 1997)

             (ii) The Formation of the English Common Law: Law and Society in England from the
             Norman Conquest to Magna Carta, (Longmans, 1996). [271 pp.]
                     (Chinese translation, 2006)

             (iii) The History of Abingdon Abbey, vol. ii, (Oxford, 2002). [533 pp.]

             (iv) The History of Abingdon Abbey, vol. i, (Oxford, 2007). [647 pp.]

             (v) The Oxford History of the Laws of England, vol. ii, (Oxford, 2012). [980 pp.]

             (vi) The Formation of the English Common Law: Law and Society in England from the
             King Alfred to Magna Carta, (Routledge, 2017). [234 pp.]
                    (much expanded new edition of (ii) above)

             (vii) The Balliol Glanvill (online publication, 2019)

             (viii) Laws in Common? (submission, 2024)

             (b) edited volumes of essays

             (i) ed. with G. S. Garnett, Law and Government in Mediaeval England and Normandy:
             Essays in Honour of J.C. Holt, (Cambridge, 1994). [387 pp.]
                      (Paperback edn., 2002)

             (ii) ed., The History of English Law before the Time of Edward I: essays commemorating
             the centenary of the publication of 'Pollock and Maitland', (Proceedings of the British
             Academy, 89, 1996). [288 pp.]
                      (reprinted 1997)

             (iii) ed. with A. Rodriguez, Diverging Paths? The Shapes of Power and Institutions in
             Medieval Christendom and Islam (Leiden, 2014). [435pp.]

             (iv) ed. with S. Crumplin, ‘The Making of Europe”: Essays in Honour of Robert Bartlett
             (Leiden, 2016). [319pp.]

             (v) ed. with W. Eves, I. Ingridson and S. White, Common Law, Civil Law, and Colonial
             Law: Essays in Comparative Legal History (Cambridge, 2021) [347 pp.]
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             (c) editions of books by other authors

             (i) P. Wormald, Papers Preparatory to the Making of English Law volume ii, ed. with S.
             Baxter (2014): http://www.earlyenglishlaws.ac.uk/reference/wormald/

             (ii) J. C. Holt, Magna Carta, ed. with G. S. Garnett (3rd edition, with new Introduction and
             other additional material, Cambridge, 2015)

      (B) Articles
             'Life-Grants of Land and the Development of Inheritance in Anglo-Norman England',
             Anglo-Norman Studies, xii (1990), 67-80.

             'Diplomatic and Legal Aspects of the Earldom of Chester Charters', in The Earldom of
             Chester and its Charters: a Tribute to Geoffrey Barraclough, ed. A.T. Thacker, (1991), 153-
             78.

             'Milsom's Legal Framework: Interpreting Twelfth-Century Law', Tijdschrift voor
             Rechtsgeschiedenis, lix (1991), 47-66.

             'Administration, Family, and Perceptions of the Past in Twelfth-Century England', in
             Perceptions of the Past in Twelfth-Century Europe, ed. P. Magdalino, (London, 1992), 75-
             98.

             'Anglo-Norman Land Law and the Origins of Property', in Law and Government in
             Mediaeval England and Normandy: Essays in Honour of J.C. Holt, (Cambridge, 1994), 198-
             222.

             with G.S. Garnett, 'Preface: J.C. Holt', in Law and Government in Mediaeval England and
             Normandy: Essays in Honour of J.C. Holt, (Cambridge, 1994), ix-xii.

             'Maitland and Anglo-Norman Law', in The History of English Law before the Time of
             Edward I: essays commemorating the centenary of the publication of 'Pollock and Maitland',
             (Proceedings of the British Academy, 89, 1996), 21-46.

             'The Abbey of Abingdon, its Chronicle, and the Norman Conquest', Anglo Norman Studies,
             xx (1997), 181-202.

             'La interpretación de disputas y resoluciones: el caso inglés, c. 1066-1135', Hispania, lvii
             (1997), 885-916.

             'Crime and the formation of the Common Law', in T.S. Haskett, ed., Crime and Punishment
             in the Middle Ages, (Victoria, BC, 1998), 19-35.

             'Henry I and counsel', in J. Maddicott and D. Palliser, eds, The Medieval State, (London,
             2000), 109-26.
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            'Court cases and legal arguments in England, c. 1066-1166', Transactions of the Royal
            Historical Society, 6th Ser. 10 (2000), 91-115.

            'Kings and crime: ideology and practice in the tenth and twelfth centuries', in Droit et société
            en France et en Grande Bretagne, Xe - XXe siècles, ed. J.-P. Genet and P. Chassaigne (U. of
            Sorbonne P., Paris, 2003), 15-38.

            ‘Legal aspects of Scottish charter diplomatic in the twelfth century: a comparative
            approach’, Anglo-Norman Studies, 25 (2003), 121-38

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            35

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            the Middle Ages, ed. P. Andersen, M. Munster-Swendsen and H. Vogt (Copenhagen, 2008),
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            ‘The making of English law and the varieties of legal history’, in Early Medieval Studies in
            Memory of Patrick Wormald, ed. S. Baxter and N. Brooks (Leicester, 2009), 421-32.

            ‘Customs, laws, and the interpretation of mediaeval law’, in Custom: The Development and
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            ‘F. W. Maitland and the Englishness of English Law’ (Selden Society lecture for 2006;
            2009), 31pp.

            ‘Feud, Vengeance and Violence in England c. 900-1200’, in Feud, Violence and Practice:
            Essays in Medieval Studies in Honor of Stephen D. White, ed. B. S. Tuten and T. L. Billado
            (Farnham, 2010), 29-53

            ‘From the Leges to Glanvill: legal expertise and legal reasoning in twelfth-century
            England’, in English Law Before Magna Carta: Felix Liebermann and Die Gesetze der
            Angelsachsen, ed. S. Jurasinski et al. (Leiden, 2010), pp. 221-49.

            ‘Magna Carta, ius commune, and the Common Law’, in Magna Carta and the England of
            King John, ed. J. S. Loengard (Woodbridge, 2010), 99-119

            ‘Order and justice’, in A Social History of England 900-1200, ed. J. Crick and E. M. C. van
            Houts (Cambridge, 2011), 115-23.

            ‘War and violence’, in A Social History of England 900-1200, ed. J. Crick and E. M. C. van
            Houts (Cambridge, 2011), 124-32.
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            ‘Imposing feudalism on Anglo-Saxon England? Norman and Angevin presentation of pre-
            Conquest lordship and land-holding', in Feudalism: New Landscapes of Debate, ed. S.
            Bagge et al. (Turnhout, 2011), 115-34.

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            its Neighbours, 900-1250: Essays in Honour of David Bates (Turnhout, 2011), 223-235.

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            (Oxford, 2012), 457-75.

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            Laws, Lawyers and Texts: Studies in Medieval Legal History in Honour of Paul Brand, ed.
            S. Jenks, J. Rose, and C. Whittick (Leiden, 2012), 1-19.

            ‘Legal history and the history of disputes’, in Disputing Strategies in Medieval Scandinavia,
            ed. K. Esmark et al. (Leiden, 2013), 333-41.

            ‘The abbey of Abingdon’, in English Cathedrals and Monasteries (DVD-ROM, York, 2013)

            with G. S. Garnett, ‘Introduction’, in J.C. Holt, Magna Carta, ed. Hudson and Garnett (3rd
            edn, Cambridge, 2015), pp. 1-32.

            ‘Prueba y verdad en el temprano derecho inglés medieval’, in Derecho y Verdad II:
            Genealogía(s), ed. G. Sucar and J. Cerdio Herrán (Valencia, 2015), 499-526.

            ‘England and the “Making of Europe”: Conquest, Colonization and Cultural Change’, in ,
            ‘The Making of Europe”: Essays in Honour of Robert Bartlett, ed. J. Hudson and S.
            Crumplin, (Leiden, 2016), 33-52.

            ‘Maitland and Austin: legal history and legal thought in the late 19th century’, in Law and
            Authority in British Legal History, 1200-1900, ed. M. Godfrey (Cambridge, 2016), pp. 293-
            328.

            ‘From the Articles of the Barons to Magna Carta’, Anglo-Norman Studies 38 (2016), 1-17.

            ‘Emotions in the early Common Law (c. 1166-1215)’, Journal of Legal History 38 (2017),
            130-54.

            ‘The place of Henry I in English legal history’, Haskins Society Journal 28 (2017), 63-81.

            with Mark D. West, ‘Stringer’s saga: Njal and The Wire’, in Emotion, Violence, Vengeance
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             and Law in the Middle Ages: Essays in Honour of William Ian Miller, ed. K. Gilbert and S.
             D. White (Leiden, 2018), pp. 271-95.

             with Kimberley-Joy Knight, ‘Miller(ed) in St Andrews’, in Emotion, Violence, Vengeance
             and Law in the Middle Ages: Essays in Honour of William Ian Miller, ed. K. Gilbert and S.
             D. White (Leiden, 2018), pp. 19-22.

             ‘Reading terminology in the sources of the early Common Law: Seisin, simple and not so
             simple’, in English Legal History and its Sources: Essays in Honour of Sir John Baker, ed.
             D. Ibbetson, N. Jones, and N. Ramsay (Cambridge, 2019), pp. 79-99.

             with W. Eves, ‘Situating, researching, and writing comparative legal history’, in Common
             Law, Civil Law, and Colonial Law: Essays in Comparative Legal History, ed. W. Eves, J.
             Hudson, I. Ingridson and S. White (Cambridge, 2021), pp. 1-24.

             ‘Glanvill: Law, language, and identity’, in Lives, Identities and Histories in the Central
             Middle Ages, ed. J. Barrau and D. Bates (Cambridge, 2021), pp. 264-81.

             with D. L. d’Avray, ‘Susan Reynolds’, Biographical Memoirs of Fellows of the
             British Academy, 20 (2022), 139–164

             ‘Judicial rhetoric and political legitimation’, in Conflict, Language, and Social Practice in
             Medieval Societies: Selected Essays of Isabel Alfonso, with commentaries, ed. Julio
             Escalona Monge, Álvaro Carvajal Castro, and Cristina Jular Pérez-Alfaro (Turnhout, 2024),
             pp. 87-92.

             ‘G. O. Sayles and the Writing of Legal History’, (Aberdeen, forthcoming).


      (C) Selected other pieces
             'Preface', in The History of English Law before the Time of Edward I: essays
             commemorating the centenary of the publication of 'Pollock and Maitland', (Proceedings of
             the British Academy, 89, 1996), pp. ix-x.

             'What did the Normans do for us', BBC History web site (2000)

             'Common Law - Henry II, the Angevins, and the forming of a state', BBC History web site
             (2000)

             'The Maitland memorial', BBC History Magazine, (2001)

             ‘The Norman Conquest’, BBC History Magazine, (2003)

             ‘The Dialogue of the Exchequer’, BBC History Magazine, (2003)

             ‘What universities wish history candidates would do at school’, TES Teacher (2003)
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             New Dictionary of National Biography,
                   short articles (500-1000 words) on: Geoffrey de Bocland; Henry of Northampton;
                   Hugh de Bocland; Hugh de Chaucombe; Nicholas de Sigillo; William Bendings

                    longer articles (2000-3000 words) on: Nigel, bishop of Ely; Ranulf de Glanville;
                    Richard fitzNigel; Richard of Ilchester

             ‘The Normans’, BBC web-site (2006)

             ‘The Miracle of Justice’, BBC History Magazine (2007)

             ‘Feudal law: common law’, Oxford International Encyclopedia of Legal History (Oxford,
             2009)

             J.C. Holt, Obituary, The Times 2014

             2015: Indian Express (Mumbai): ‘Magna Carta: 1215 and After’ (16 June 2015)

             2019: BBC HistoryExtra: ‘The historical differences between Scottish and English Law, and
             what it means for Brexit’ (https://www.historyextra.com/period/stuart/historical-differences-
             scottish-english-law-what-it-means-brexit-supreme-court-session/)

             Reviews for academic journals including: Medium Aevum, History, English Historical
             Review, Tijdschrift voor Rechtsgeschiedenis, Cambridge Law Journal, Legal History
             Review, Journal of Legal History, Journal of Ecclesiastical History, Speculum, Early
             Medieval Europe. Times Literary Supplement, BBC History Magazine, Catholic History
             Review, Journal of Law and Religion

             Editing of papers of P. Wormald, following his death:
                    ‘The first code of English law’, (Canterbury, 2005)
                    ‘Lawyers and the State: the varieties of legal history’ (Selden Society, 2008)

      CONFERENCES ORGANIZED

      Joint organiser, St John's House Conference on 'Latin and the Vernacular', May 1994.

      Co-ordinator for 1995 British Academy symposium commemorating the centenary of Maitland's
      History of English Law.

      Organiser, symposium on 'Political Legitimation in the Middle Ages', St Andrews, March 2001.

      Organiser, European Science Foundation 'Exploratory Workshop' on 'Power and authority:
      comparative analyses of history, law and legitimation', CSIC, Madrid, Sept. 2002.

      Organiser, Marie Curie ITN workshop: ‘Sources’, St Andrews Oct. 2013.
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      Organiser, Marie Curie ITN workshop: ‘Complementary Skills’, St Andrews June 2014.

      Co-organiser: ‘Emotions in the Courtroom’, St Andrews May 2015.

      Advisory Committee: ‘Emotions in Legal Practice’, Centre for the History of Emotions, University
      of Sydney Sept. 2016.

      Co-organiser: workshop on ‘Forensic Rhetoric and the History of Emotions’, St Andrews August
      2018.

      Co-organiser: workshop on ‘History of Law and Emotions’, London August 2018.

      Co-organiser: ‘Reflections on the Union: Past, Present and Future’, St Andrews October 2018.

      Organiser: ‘The Law’s Two Bodies’, St Andrews October 2018.

      Chair, Organising Committee, British Legal History Conference, St Andrews July 2019.

      Co-organiser (with Scotia Group): workshop on ‘The UK as host of COP26: Communities, nations,
      and the law’, St Andrews June 2021.

      Organiser: ‘The Law’s Two Bodies: "Soft law"’, St Andrews February 2022.

      Co-organiser: workshop on 'Jury trial and rape in Scots Law', St Andrews October 2023.

      PAPERS DELIVERED:
           Named Lectures
                1997 Lansdowne Memorial Lecture (University of Victoria, British Columbia):
                'F.W. Maitland and the Englishness of English Law'
                2004 Edwards Lecture (University of Glasgow): ‘Writing, literacy, and the formation
                of the English Common Law’
                2006 Selden Society Maitland Centenary lecture: ‘F. W. Maitland and the
                Englishness of English Law’
                2015 Allen Brown Memorial Lecture on Anglo-Norman Studies: ‘From the Articles
                of the Barons to Magna Carta’
                2015 C. Warren Hollister Memorial Lecture; ‘The place of the reign of Henry I in
                English legal history’
                2017 Harvard Law School European Legal History Series (inaugural lecture): ‘Law
                and Emotions in the Early Common Law’
                2018 Fulton Lecture in Legal History, University of Chicago Law School: ‘F. W.
                Maitland, Common Law, and Civil Law’
                2023 Carlyle Lectures (University of Oxford): ‘Custom, Common Law, and Civil
                Law’

             Conferences (since 2010):
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                   2011: Law Faculty, University of Copenhagen: ‘Histories of Disputing and Histories
                   of Law’
                   2011: International Medieval Congress, Leeds: ‘Consent to alienation of land: a
                   comparative approach’
                   2011: University College of London Institute of Archeology, Power and Place in
                   Later Roman and Early Medieval Europe Conference: ‘Assemblies, Courts, and Law
                   Courts, from Alfred to Magna Carta’
                   2012: Copenhagen, Law and Society Conference: ‘Law and disputing’
                   2013: British Legal History Conference, Glasgow: ‘Maitland and Austin: Legal
                   history and legal thought in the late nineteenth century’ (Plenary lecture)
                   2015: The Magna Carta Conference, London: Magna Carta: Ius commune and
                   Common Law (roundtable)
                   2015: International Medieval Congress, Leeds: ‘Frustration leads to anger: clerics
                   and laymen in the courtroom’
                   2016: Milsom symposium, Cambridge: ‘Glanvill’s Legal Framework’
                   2017: Legal History and Legal Theory, Edinburgh: ‘Defining Law for Comparative
                   Legal History’
                   2017: ‘Powerful Emotions / Emotions and Power c.400-c. 1850’ conference, York:
                   ‘Reading Emotions in the Early Common Law’
                   2018: International Society for Intellectual History conference, St Andrews: ‘F. W.
                   Maitland, Civil Law, and Common Law: Borders and Boundaries’ (Keynote lecture)
                   2019: International Medieval Congress, Leeds: ‘Lanfranc’s adventures in Iceland’
                   2019: Annual Conference of the Sheriffs of Tayside, Central Region, and Fife:
                   ‘Children and the Law: a View from the Middle Ages’
                   2019: Australasian Languages and Literature Association Conference (Wollongong):
                   ‘‘Saint’ Lanfranc in Iceland and Canterbury: reception and non-reception’
                   2019: Australia and New Zealand Law and History Society Conference: ‘Common
                   Law, Civil Law, and English Identity’ (Keynote lecture)
                   2019: Australia and New Zealand Law and History Society Conference: ‘Law’s
                   History: Responsibility as Disciplinary Practice’ (Plenary panel)
                   2021: British Academy ‘Jurisdictions’ project workshop (Online): William of
                   Longchamp
                   2021: ‘Textualisation and Petrification: Written Sources, Identity and the Materiality
                   of Buildings’ (CSIC Madrid, Università Roma Tor Vergata): ‘Church building in the
                   Historia ecclesie Abbendonensis’

            Invited External Seminars: (since 2010)
                    2012 All Souls College, Oxford: ‘Constitutions of Clarendon, clause 3, and Henry
                    II’s reforms of law and administration’
                    2013 U. of Michigan Law School: ‘Maitland, Austin, and Maine’
                    2015 Oxford: ‘From the Articles of the Barons to Magna Carta’
                    2017 Glasgow: ‘Stringer’s saga’
                    2017 Oslo: ‘The civil war of Stephen’s reign and the development of English law’
                    2018 U. of Michigan Law School: ‘Thinking through The Law’s Two Bodies’
                    2018 Zurich: ‘Exploring patterns of legal development in twelfth-century Europe’
                    2020 Oxford/Cambridge: ‘Maitland, Civil Law, and Common Law’
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                     2020 U. of Michigan Law School: ‘Comparative legal history’
                     2023 Oxford University Political Thought seminar: ‘Legal thought and political
                     thought’
                     2023 University of Padova Faculty of Law: ‘Legal development in Europe: a
                     perspective from the 1190s’
                     2023 University of Nottingham Faculty of Law, inaugural lecture for Centre for
                     History of Law and Governance: 'Historians, Lawyers and the Varieties of Legal
                     History: a discussion of the work of J.C. Holt and S.F.C. Milsom' (with G.S. Garnett)

      EDITORIAL BOARDS

      Chief Editor, Brill book series ‘Medieval Law and its Practice’

      Advisory Board, BBC History Magazine (2000-20); Editorial Advisory Board (2006-2011)
      Adviser, A Dictionary of British and Irish History, ed. R. Peberdy and P. Waller (Chichester, 2021)
      Advisory Board, Journal of British Studies (1995-2001)
      Editorial Board, History Compass (Blackwells, on-line)
      Editorial Board, The Mediæval Journal (2011- )
      Advisory Council, Reviews in History (1997- )
      Advisory Board, Revista Chilena de Estudios Medievales (2011- )
